 

 

M0-1(3/07)
ease 4: 17- r- 00 S RT
-c 122- Y BEE§WT§S@§§Y §§)E§SAS Page 1 of 1 PagelD 74
FOrt WOl‘fh DIVISION

 

 

 

 

HoNoRABLE Terry R- Mean$ PRESIDING COURT REPORTER/TAPE; Ana Warren
DEPUTY CLERK Carmen Bush USPO John K|even
LAW CLERK iNTERPRETER

 

 

CSO: Ted Carmean

 

 

 

 

 

 

cR. No. 4=17-CR-122-Y DEFT. No. (1)
UNITED sTATEs oF AMERICA § Frank L Gatto, AUSA
§
v. §
§
ANTHONY ALEXANDER FERRAR| § Cody Cofer, (F)
Defendant's Name Counsel for Deft. Appt-(A), Retd-(R), FPD-(F)
SENTENCING

Date Held: i° 4'i 7

Hearing Type: l:] Sentencing Hearing - Contested Sentencing Hearing - Non-Evidentiary

Time in Court: 28 min$

Trial Status: l iCompleted by Jury Verdict i:| Continued from Previous Month l:] Directed Verdict l:i Evidence Entered
I:lHung Jury I:] Jury Selection Only, continued l:] Jury Selection or Verdict Only (No Trial Before this Judge)
UMistrial m Settled/Guilty Plea l:] None

Days in Trial: _

Hearing Concluded: Yes - No

-Sentencing held. i:i Objections to PSI heard. l:i Plea agreement accepted. [:] Plea agreement NOT accepted
i:] Sentencing Guidelines l:iDeparts Upward \:] Departs Downward

 

 

 

SENTENCING TEXT:
i:i . . Deft placed on: Probation for
. . Dett. committed to custody of the AG/BOP to be 1m risoned for a TOTAL term of i5i months*
P
. . Deft. placed on: Supervised Released for 3 Yeai$
Ei . . Restitution ordered in the amount of $ and/or Fine imposed in the amount of $
ij . . Count(s) dismissed on governments motion.
E . . Order dismissing original Indictment/Information to be entered upon government's written motion.
. . $ 100-00 special assessment on Count(s)
of I_ Complaint - Indictment l:\ Information l lSuperseding lndictment [:| Superseding lnformation.
g ....... Deft ordered to surrender to the designated institution on . F l L E D
|:] ....... Deft failed to appear, bench warrant to issue.
....... Bond lj continued E revoked J a n ua ry 04’ 201 8
X . . .
....... Deft Advised of hls right to appeal. KAREN MITCHELL
i:i ....... Deft requests Clerk to enter notice of Appeal. CLERK, U _S' D|STR|CT COURT
....... Deft Custody/Detention continued.
....... MRHXAZNBED<MM Court recommends incarceration at a iaciiity in the Montaiia distiict'

OTHER pROCEEDINGS/lNFORMATION; * to run consecutively to any sentence that may be imposed in case no. F17-395-431

 

in the 431 st .|udicial District Court, Denton County, Texas.

 

 

Attorney admissions: (3).

 

